                                                             140 Nev., Advance Opinion SI
                             IN THE SUPREME COURT OF THE STATE OF NEVADA


                      THOMAS LABS, LLC, AN ARIZONA                           No. 85946
                      LIMITED LIABILITY COMPANY,
                      Appellant,
                      vs.                                                        FILED
                      AMBER MARIE DUKES, BY AND
                      THROUGH THE SPECIAL                                        AUG 2 2 202
                      ADMINISTRATOR OF HER ESTATE,                            ELI    HA
                                                                                                      RT
                                                                            CLER.OF UP
                      Respondent.                                           BY
                                                                                 C IEF DEPUTY CLERK




                                  Appeal from a district court order denying a motion to
                      substitute a party and dismissing claims pursuant to NRCP 25(a)(1).
                      Eighth Judicial District Court, Clark County; Nancy L. Allf, Judge.
                                  Reversed and rernanded.


                      Gibbs Giden Locher Turner Senet &amp; Wittbrodt LLP and Daniel M. Hansen,
                      Las Vegas,
                      for Appellant.

                      The Law Offices of Patrick Driscoll, LLC, and Patrick R. Driscoll, Jr.,
                      Henderson,
                      for Respondent.




                      BEFORE THE SUPREME COURT, HERNDON, LEE, and BELL, JJ.


                                                      OPINION

                      By the Court, BELL, J.:
                                  This opinion clarifies duties arising when a party dies during
                      litigation. After the death of a party, the decedent's attorney—typically in
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                the best position to identify a successor or representative—bears the burden
                to ensure litigation continues. The decedent's attorney has a responsibility
                under NRS 7.075 to file a notice of death and serve the notice on the other
                parties in the case. Under NRCP 25(a), service of the notice of death also
                must be made on the decedent's successors or representatives. Full
                compliance with NRCP 25(a) starts a 180-day deadline to substitute in the
                proper party. Regardless, under NRS 7.075, the decedent's attorney also
                has a responsibility to substitute a proper party within 90 days of the
                client's death.
                             Below, Amber Dukes's counsel filed a notice of Dukes's death
                but failed to serve the notice on any nonparty successors or representatives,
                so the 180-day deadline under NRCP 25 never started. Counsel additionally
                failed to identify and substitute the appropriate proper party as required by
                NRS 7.075. Despite these issues, the district court granted a motion to
                dismiss the case against Dukes. We reverse the district court's order and
                remand for the district court to substitute a special administrator for Dukes
                so the case may be adjudicated on the merits.
                                  FACTS AND PROCEDURAL HISTORY
                             Dukes owned a veterinary supply company that bought and
                resold products from Thomas Labs, LLC. Thomas Labs sued Dukes and her
                company for money owed on products delivered. After litigation began,
                Dukes and her boyfriend, Jason Hilliard, executed "The Hilliard-Dukes
                Revocable Living Trust." The Trust held Dukes's property. Both Dukes and
                Hilliard served as trustees.
                             Several years into the litigation, Dukes died. Dukes's counsel
                filed a notice of death on the record on January 12, 2021. Counsel served
                the other parties to the case through the district court's electronic system
                but never took any action to identify, notice, or serve any executor, personal
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                  representative, or next of kin for Dukes. Counsel also took no action to
                  substitute another party in place of Dukes.
                              On March 12, 2021, Thomas Labs moved to substitute the Trust
                  and Hilliard, as trustee, for Dukes. Thomas Labs served the motion to
                  substitute on Dukes's counsel and Hilliard. Neither counsel, Hilliard, nor
                  the Trust opposed Thomas Labs's motion. The district court granted the
                  unopposed motion and substituted the Trust and Hilliard for Dukes.
                  Thomas Labs then served discovery requests on the Trust and Hilliard and
                  the case proceeded.
                              Approximately 300 days after the initial notice of death, a
                  different law firm filed Dukes's will in probate court. The will appointed
                  Dukes's brother Lynn Hill as personal representative. After the will was
                  filed, Dukes's counsel in the civil case moved to dismiss Thomas Labs's
                  causes of action against Hilliard, the Trust, and Dukes. Counsel claimed
                  that neither Hilliard nor the Trust were the proper personal representatives
                  so neither should have been substituted for Dukes. The district court
                  entered an order dismissing Hilliard and the Trust, but the court returned
                  Dukes to the suit.
                              Before entry of the order dismissing Hilliard and the Trust as
                  representatives, Thomas Labs reached out to the named parties in the will.
                  All named parties disclaimed interest in serving as Dukes' administrator at
                  the time. Thomas Labs then petitioned the probate court for the
                  appointment of a special administrator, Shara Berry, a paralegal in the law
                  offices representing Thomas Labs. After the probate court granted the
                  motion, Thomas Labs moved in the civil case to substitute the now-
                  appointed special administrator as the proper party to continue the
                  litigation in Dukes's stead. Two days before the hearing on the motion to

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                substitute, Hill challenged Berry's appointment as special administrator in
                probate court and sought to replace Berry. Hill was then appointed as
                special administrator by the probate court.
                            Meanwhile, in the civil case, Dukes's counsel responded to
                Thomas Labs's attempt to substitute in the special administrator by moving
                to dismiss the case against Dukes under NRCP 25. Counsel claimed the
                180-day deadline for moving to substitute a personal representative had
                passed without a motion for substitution of a proper party. Thomas Labs
                opposed, arguing that counsel had failed to serve the notice of death on
                nonparty successors or representatives of Dukes, meaning the 180-day clock
                never started and the new motion to substitute was timely.
                            The district court denied Thomas Labs's motion to substitute as
                untimely and granted the motion to dismiss under NRCP 25. The district
                court concluded that service of the original notice of death on the parties,
                only, triggered the 180-day deadline for moving to substitute under NRCP
                25 and the deadline had elapsed. The district court decided as a matter of
                law that Dukes's counsel would have to serve a nonparty successor or
                representative of Dukes only if such a person existed when the notice of
                death was filed. Because no court-appointed executor or administrator
                existed when Dukes's counsel filed the notice of death, the district court
                found serving the parties alone triggered the 180-day clock. The district
                court summarily concluded that Thomas Labs failed to demonstrate
                excusable neglect, and the court declined to enlarge the time to substitute.
                The district court dismissed all claims against Dukes.       Thomas Labs
                appeals.




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                                                  DISCUSSION
                                Thomas Labs argues that the district court improperly
                    dismissed Thomas Labs's claims against Dukes and misinterpreted NRCP
                    25(a), as informed by NRS 7.075. This case turns on the legal interpretation
                    of NRCP 25 and NRS 7.075. This court reviews legal interpretations by the
                    district court de novo. See Gonor v. Dale, 134 Nev. 898, 899, 432 P.3d 723,
                    724 (2018). We first address the requirements for proper service of a notice
                    of death under NRCP 25(a). We next turn to the interrelated statutory
                    obligations of a decedent's attorney under NRS 7.075.
                                Under NRCP 25(a), when decedent's counsel files a notice of
                    death, in addition to serving the parties, counsel must serve the notice on
                    eligible nonparty successors or representatives to trigger the 180-day
                    deadline for dismissal. Additionally, NRS 7.075 requires the decedent's
                    counsel to file a motion to substitute a proper party for the deceased client
                    within 90 days of the client's death. In this case, the 180-day NRCP 25(a)
                    deadline was never triggered, and the district court erred by dismissing the
                    case based on the running of that deadline. Because we reverse and remand
                    on this issue, we need not reach Thomas Labs's other arguments concerning
                    the amended notice of death or excusable neglect.
                    When decedent's counsel files a notice of the decedent's death, NRCP 25(a)
                    requires service on nonparty successors or representatives before the 180-day
                    deadline begins to run
                                In Nevada generally, "no cause of action is lost by reason of the
                    death of any person, but may be maintained by or against the person's
                    executor or administrator." NRS 41.100. To preserve causes of action after
                    the death of a party, NRCP 25(a) provides that any party or the decedent's
                    successor or representative may move to substitute a "proper party" in the
                    decedent's place. If substitution of the proper party is not sought within
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                180 days of service of the notice of death, however, the case "must be
                dismissed." NRCP 25(a)(1). "A motion to substitute must be served on the
                parties as provided in Rule 5 and on nonparties as provided in Rule 4," and
                "[a] statement noting death must be served in the same manner." NRCP
                25(a)(3).
                                NRCP 25 works in tandem with NRS 7.075, which governs
                counsel's duties upon the death of a client under representation in a pending
                action. See NRCP 25 advisory committee's note to 2019 amendment. Under
                the tandem operation of NRCP 25(a) and NRS 7.075, while anyone may file
                the notice of death and move for substitution within the 180-day deadline,
                the decedent's counsel bears ultimate responsibility to act and faces
                sanctions for failing to take action. See NRS 7.075 ("An attorney at law who
                represents any person who is a party to an action pending before any court
                shall . . . file a notice of death and a motion for substitution of a party with
                the court.").
                                The issue here is who must be served to trigger the 180-day
                period for requesting substitution under NRCP 25(a).           This court has
                addressed the NRCP 25(a) service requirement in the past. In Gonor v.
                Dale, we concluded "a plain reading of NRCP 25(a)(1) requires that the
                [notice] of death . . . be served on parties and/or nonparties before the [time]
                period is triggered." 134 Nev. at 900, 432 P.3d at 725. Gonor followed Ninth
                Circuit Court of Appeals caselaw in holding that the 180-day deadline in
                NRCP 25(a)(1) "is triggered by two affirmative actions: (1) 'a party must
                formally suggest the death of the party upon the record,' and (2) 'the
                [noticing] party must serve other parties and nonparty successors or
                representatives of the deceased with a [notice] of death." Id. at 900-01, 432
                P.3d at 725 (quoting Barlow v. Ground, 39 F.3d 231, 233 (9th Cir. 1994)).

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                          At the same time, a notice of death filed by an opposing party, rather than
                          decedent's counsel, need not be served on decedent's nonparty successors or
                          representatives to trigger the 180-day deadline. ki. at 900, 432 P.3d at 725
                          (citing Moseley v. Eighth Jud. Dist. Ct., 124 Nev. 654, 660-61, 188 P.3d 1136,
                          1141 (2008)). This relaxed service requirement for notices coming from an
                          opposing party avoids placing the burden on an opposing party of having to
                          speculate as to the identity of a decedent's successors or representatives.
                          Moseley, 124 Nev. at 661, 188 P.3d at 1141.
                                      We now clarify that when a decedent's attorney notices their
                          client's death, nonparty successors or representatives must be served to
                          start the 180-day clock for dismissal. Unlike an opposing party, a decedent's
                          counsel typically is in an excellent position to identify the decedent's
                          successors or representatives. If no clear successors or representatives exist
                          at the time of a party's death, the decedent's attorney—who bears the
                          ultimate responsibility to file and serve the notice of death and ensure a
                          representative is properly substituted—rnay work through probate to
                          appoint a special administrator to serve as the decedent's representative
                          and facilitate proper service. See NRS 139.040(1)(j) (allowing "any person
                          or persons legally qualified" to administer an estate once all other persons
                          with priority have declined); NRCP 25(a) (requiring participation from the
                          decedent's "successor or representative"). A decedent's attorney who files
                          the notice of death must serve the other parties and also nonparty
                          successors or representatives of the deceased. Until these service conditions
                          are met, the 180-day deadline does not start.
                                      The district court here erroneously concluded a decedent's
                          attorney was not required to serve nonparty successors or representatives
                          with the notice of death when no clear representative was known at the time

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                       the notice was filed. In dismissing the case against Dukes, the district court
                       relied heavily on McNarnee v. Eighth Judicial District Court. 135 Nev. 392,
                       450 P.3d 906 (2019). McNamee held that a notice of death need not identify
                       the deceased's successor or representative on the face of the notice to trigger
                       the 180-day deadline because NRCP 25(a)(1) did not require the
                       representative to be named in the notice. Id. at 395-96, 450 P.3d at 909-10.
                       The logic of McNamee does not assist when examining the service
                       requirement for nonparties. While no rule requires naming a successor in
                       a notice of death, the service of nonparties is explicitly contemplated by the
                       text of the rule. See NRCP 25(a)(3) ("A motion to substitute must be served
                       on the parties as provided in Rule 5 and on nonparties as provided in Rule
                       4. A statement noting death must be served in the same rnanner." (emphases
                       added)).
                                   McNamee also did not overrule Gonor. We reaffirm the holdings
                       of both cases. While McNamee focuses on the requirements for the notice
                       itself, the case only briefly mentions service: "once the [notice] of death is
                       filed on the record and served upon the appropriate parties, the deadline in
                       NRCP 25(a)(1) for filing a motion to substitute is triggered." 135 Nev. at
                       396. 450 P.3d at 910 (emphasis added). McNamee never explains what is
                       meant by "the appropriate parties," but the analysis frorn Gonor provides
                       the answer.    While a notice of death need not identify the deceased's
                       successor or representative on its face to be sufficient per McNamee, the
                       notice of death filed by the decedent's attorney must still be served on a
                       nonparty successor or representative to meet the service requirement of
                       NRCP 25(a)(1) per Gonor.




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                            In this case, the 180-day deadline to move for substitution never
                started. After filing the notice of death, Dukes's counsel failed to serve the
                nonparty successors or representatives of Dukes in order to trigger the 180-
                day deadline for dismissal. Gonor, 134 Nev. at 900-01, 432 P.3d at 725.
                Counsel filed the notice of death through the district court's e-filing system,
                which electronically served the other parties to the case. Counsel never
                served any successors or representatives of Dukes. Because service on a
                representative or successor is required by Gonor, the NRCP 25(a)(1) 180-
                day deadline never started, and the case should not have been dismissed.
                The failures of decedent's counsel should not provide a tactical advantage
                in litigation because, as we discuss next, responsibility in this matter
                ultimately rests with decedent's counsel.
                NRS 7.075 requires decedent's counsel to substitute an eligible party within
                90 days
                           The burden of substitution also rests with the decedent's
                counsel under statute. If a party to an action dies, the decedent's attorney
                "shall, within 90 days after the death of that person, file a notice of death
                and a motion for substitution of a party with the court and cause a copy of
                that notice and motion to be served upon every other party to the action."
                NRS 7.075. The court may impose sanctions on a decedent's attorney who
                fails to meet this obligation, including attorney fees and costs. Id. The
                substitution requirement imposed by NRS 7.075 operates in conjunction
                with the notice and service rules established by NRCP 25(a). NRCP 25
                advisory committee's note to 2019 amendment.
                           "When a statute's language is clear and unambiguous, it must
                be given its plain meaning, unless doing so violates the spirit of the act."
                D.R, Horton, Inc. V. Eighth Jud. Dist. Ct., 123 Nev. 468, 476, 168 P.3d 731,
                737 (2007) (internal quotation marks omitted). NRS 7.075 clearly and
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                   unambiguously requires decedent's counsel to move to substitute someone
                   who can continue representing their client's interests within 90 days of the
                   client's death. Nothing in this opinion, however, should be taken to suggest
                   this responsibility precludes any other individual from acting to substitute
                   a proper party for a decedent consistent with applicable law. If another
                   party or the decedent's successor or representative acts faster and moves to
                   substitute a proper party within those 90 days, the decedent's attorney
                   would be relieved of this duty.
                             Here, Dukes's counsel neglected his statutory obligations under
                   NRS 7.075. Counsel failed to file a motion to substitute a party capable of
                   representing his deceased client's interest within 90 days of her death.
                   Thomas Labs's motion to substitute Hilliard and the Trust did not relieve
                   Dukes's counsel of these statutory obligations because Hilliard and the
                   Trust, as agreed by all concerned, were improper parties to represent
                   Dukes's interest.    Ultimate responsibility to ensure that a motion to
                   substitute a party capable of representing the decedent's interest remains
                   with the decedent's attorney. Because 90 days from Dukes's death passed
                   and no motion to substitute a proper party was before the court, Dukes's
                   counsel violated the clear and unambiguous requirements of NRS 7.075.
                                                     CONCL USION
                               Decedent's counsel failed to serve nonparty successors or
                   representatives after filing a notice of death.      Because the nonparty
                   successors or representatives were never served, the NRCP 25(a) deadline
                   never started running. The district court erred by determining that counsel
                   did not need to serve nonparty successors or representatives and by
                   dismissing the case because no proper motion for substitution had been filed
                   within the 180-day deadline under NRCP 25(e). As a result, we reverse the

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                district court's order dismissing the case and remand for the district court
                to substitute a special administrator for Dukes so the case may be
                adjudicated on the merits.


                                                                                   J.
                                                      Bell


                We concur:



                Herndon


                                             ,   J.
                Lee




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